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11 Lina Alhanbly
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13
                              UNITED STATES DISTRICT COURT
14                           CENTRAL DISTRICT OF CALIFORNIA
15                                LOS ANGELES DIVISION

16
17 LINA ALHANBLY,                             Case No.: 2:17-cv-07122-SJO-GJS
18                                            STIPULATION TO ARBITRATE
                       Plaintiff,
                                              AND STAY PROCEEDINGS
19
                                              PENDING ARBITRATION
            vs.
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21 WESTLAKE FINANCIAL SERVICES,
22                     Defendant.
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     2:17-cv-07122-SJO-GJS                          STIPULATION TO ARBITRATE AND STAY
                                                     PROCEEDINGS PENDING ARBITRATION
Case 2:17-cv-07122-SJO-GJS Document 16 Filed 01/16/18 Page 2 of 3 Page ID #:76



  1          WHEREAS the contract which underlies this action contains an arbitration
  2
      clause. WHEREAS Plaintiff Lina Alhanbly has filed the present litigation against
  3
  4 Westlake Financial Services.
  5          IT IS HEREBY STIPULATED AND AGREED by and between the Parties as
  6
      follows:
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  8          1.      The matter shall be resolved by way of binding arbitration.
  9          2.      The parties waive the right to a jury trial.
10
             3.      The Federal proceedings concerning this matter shall be stayed pending
11
12 the outcome of arbitration.
13           4.      This stipulation does not modify, waive, or void any portions of the
14
      arbitration provision set forth in the contract underlying this lawsuit.
15
16
             IT IS SO STIPULATED.
17
18
                                                    Respectfully Submitted,
19
20 Dated: January 16, 2018                        By: _/s/ Edit Alexandryan_____________
                                                       Edit Alexandryan
21                                                     Attorney for Defendant

22
23
24 Dated: January 16, 2018                        By: __/s/ Trinette G. Kent______________
25                                                     Trinette G. Kent
                                                       Attorney for Plaintiff
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      2:17-cv-07122-SJO-GJS                       -2-          STIPULATION TO ARBITRATE AND STAY
                                                                PROCEEDINGS PENDING ARBITRATION
Case 2:17-cv-07122-SJO-GJS Document 16 Filed 01/16/18 Page 3 of 3 Page ID #:77



  1                              CERTIFICATE OF SERVICE
  2
          I HEREBY CERTIFY that on January 16, 2018, a copy of the foregoing was
  3 served electronically by the U.S. District Court Central District of California
  4 Electronic Document Filing System (ECF) and that the document is available on the
    ECF system.
  5
  6
                                             By: /s/ Trinette G. Kent
  7                                          Trinette G. Kent, Esq.
  8                                          Lemberg Law, LLC
                                             Attorney for Plaintiff
  9                                          Lina Alhanbly
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      2:17-cv-07122-SJO-GJS                -3-        STIPULATION TO ARBITRATE AND STAY
                                                       PROCEEDINGS PENDING ARBITRATION
